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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, et al.

       Plaintiffs,
                                              CIVIL ACTION FILE
v.
                                              NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

       Defendants.

                      STATE DEFENDANTS’ RESPONSE
                     TO THE COURT’S ORDER, [DOC. 957]

      On October 7, 2020, Plaintiffs jointly filed a “Notice of Filing of

Correspondence with State Defendants and their Refusal to Comply with the

Court’s September 28, 2020 Docket Order,” [Doc. 955]. Consistent with their

prior filings in this case, Plaintiffs attacked Defendants and their counsel for

not being adequately responsive to their frequent email demands—ignoring

any rules of procedure or process when seeking to obtain additional evidence

for their pending preliminary injunction motion (heard by this Court weeks

ago). Plaintiffs went on to pose four interrogatories which they assert—

without citation to authority—Defendants “should be required to publicly

provide . . . to the Court immediately.” Id. Today, at 9:18 am, the Court

issued an Order directing Defendants to respond to those same four questions
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this afternoon. [Doc. 957]. State Defendants provide this response to the

Court, subject to the objections contained herein.


                              INTRODUCTION

      Defendants are not—and have never been—seeking to employ a

“campaign of obstruction and obfuscation,” as Plaintiffs suggest.1 [Doc. 955 at

5]. Rather, Defendants have been clear from the start of questions regarding

EAC approval that the process for seeking certification and approval of de

minimis changes is between the Voting System Manufacturer and the

Election Assistance Commission. As Dr. Coomer (appearing voluntarily)

explained during the September 28, 2020 Teleconference, the software

change was submitted by Dominion to the EAC-Certified Voting System Test

Lab after testing by Dominion. Tr. 13:2-5. He then explained that Dominion

was going to use the “process within the EAC for rapid approval of de

minimis software changes.” Id. at 39:3-7, 63:12-24.



1 Of course, it is these kinds of inflammatory mischaracterizations that have
made this case unique among all of those filed about elections in this District.
It is also indicative of why the State Defendants have remained steadfast in
their position that this case should proceed normally and subject to the
standard rules of evidence and civil procedure, both of which allow the State
Defendants the opportunity to address actual discovery requests and not
informal email demands. The bright lines afforded by the rules are highly
necessary, particularly when the Plaintiffs’ informal demands have created
most of the problems about which they complain.

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      Similarly, during the October 1, 2020 Teleconference, counsel for the

State Defendants explained that the process of EAC approval happens in the

absence of State Defendants—the manufacturer determines whether to seek

such approval and has responsibility for those submissions. See Tr. 10:3-12;

11:15-12:8. Dr. Coomer then explained again the process: (1) the EAC-

certified test lab tests the change and determines whether it is de minimis

(which has occurred); (2) the lab writes a report (which is [Doc. 939]); (3)

Dominion submits the modification to the EAC through an Engineering

Change Order (ECO) (which is [Doc. 953-2]); and (4) the EAC approves the

change for the current EAC-certified system. Oct. 1, 2020 Tr. 11:10-12:8.

      But the Court (and Plaintiffs) need not rely on the explanation from

State Defendants and Dr. Coomer—the Election Assistance Commission’s

Voting System Testing and Certification Manual Confirms this fact. See

Exhibit 1, Section 3.4.3.1; see also Notice of Clarification, attached as

Exhibit 2, Sec. 3.4.3.1 (“Manufacturers must submit any proposed de

minimis change…”), Sec. 3.4.3.3 (“EAC will inform the Manufacturer and

VSTL of its determination”) (emphasis added). Despite the State

Defendants’ lack of firsthand knowledge of the status of the process, State

Defendants and their undersigned counsel have nonetheless sought to be

responsive to the Court’s inquiries.

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      The same can also be said for Dominion, the State’s Voting System

Manufacturer. Despite not being a party to this proceeding, Dominion has

“voluntarily provided thousands of pages of documents on days’ notice” and

made Dr. Coomer available on even less notice. [Doc. 955-2 (email between

Dominion counsel and Plaintiffs’ counsel)]. As a reward for their cooperation,

Plaintiffs have blanketed the State’s local elections officials with false and

misleading information—sending out Dr. Coomer’s testimony to those local

officials, days after the Court ordered it unsealed over State Defendants’

objection and without opportunity for Dominion to formally respond. See

Exhibits 3 (Oct. 5, 2020, Email from Coalition “Analyst”), Exhibit 4 (Oct. 7,

2020, Email from Coalition “Analyst” and attachment A thereto). Indeed,

Coalition Plaintiffs publicly claimed there were issues regarding scanners in

Cherokee County and informed the Court they would “circle back to the

Court and report to the Court on [their] findings” after their visit to Canton.

Sep. 28, 2020 Teleconference Tr. 42:9-12. They never did, likely because their

visit confirmed there actually was no issue. Their (and Curling Plaintiffs’)

emails and statements to the Court continue to confirm their efforts to

undermine administration of elections in Georgia to achieve their preference

of hand-marked paper ballots.




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        Importantly, Plaintiffs’ tactics of intimidating local officials to adopt the

relief they seek from this Court are not occurring in a vacuum. In addition to

the Secretary’s efforts to prepare for the upcoming election (with early voting

starting Monday, October 12, 2020), local elections officials are also working

tirelessly to prepare for a major election. Unfortunately, election

administrators are being attacked on multiple fronts, from Plaintiffs in this

case to national political figures. State Defendants respectfully submit that

this Court should not be yet another avenue for these unfounded attacks.


I.      Defendants’ Objections

        Bearing in mind the State Defendants’ respect for this Court and its

weighty responsibilities in a matter of importance, State Defendants raise

the following objections to avoid risk of their waiver:

     1. Plaintiffs’ relief was improperly sought. Rule 7(b)(1) of the Federal

        Rules of Civil Procedure requires a motion to request a Court Order.

        Plaintiffs instead chose to submit a “Notice of Filing,” as they have

        many other times in this case, to seek wide-ranging ad hoc relief. This

        tact makes sense when considering the information sought should be

        directed at nonparty Dominion, yet no discovery requests have been

        made. Similarly, the “Notice of Filing” reads as a motion to compel—



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      but again, there is nothing to compel—or motion for contempt, but

      Plaintiffs have not done so.

    2. The Evidentiary Record on Plaintiffs’ Motion is Closed. As the party

      seeking extraordinary relief, the Plaintiffs bear the burden of proof.

      McDonald’s Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998).

      Realizing they failed to carry their burden, Plaintiffs continue to assert

      new theories and submit (or request) “evidence” under the guise of

      “Notices of Filing” and email demands void of any consistency with

      formal discovery. Plaintiffs should not be permitted to rely on those

      email demands and filings submitted by the State Defendants—after

      the close of the three-day hearing—at the Court’s direction (without

      motion) to satisfy their burden.

    3. While the Court possesses inherent authority and responsibility to

      manage this case, it should not conduct independent factfinding as part

      of that process.2 This Court should allow the normal, adversarial

      discovery process to proceed so that a fully tested record can be



2The Eleventh Circuit has addressed this issue from a slightly different
perspective, and its precedent provides an alternative basis for the
Secretary’s objection. See Johnson v. United States, 780 F.2d 902, 910 (11th
Cir. 1986). Cf. Paez v. Sec’y, Florida Dep’t of Corr., 947 F.3d 649, 652 (11th
Cir. 2020) (addressing judicial notice).

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        developed. This case involves issues that should be decided on a full

        record, not a rushed preliminary-injunction standard, and not on an

        apparently non-existent new motion concerning EAC Certification

        and what State law requires.3


II.     State Defendants’ Response to the Court’s Order.

        Subject to the foregoing objections, State Defendants provide the

following responses to the Court’s Order:

      1. Was the Pro V&V report (Doc. 939) provided to the EAC and, if so,
         when and by whom?

        Yes. Mr. Cobb’s declaration and the attached documentation

demonstrate that the ECO and the Pro V&V report were sent to the EAC on

Friday, October 2, 2020 by Pro V&V by email and Pro V&V informed the

Secretary of State of that fact. Second Supplemental Declaration of Jack

Cobb (“Cobb Dec.”), Exhibit 5, at ¶¶ 4-5 and Ex. 1, thereto.




3 To the extent such a claim is present (though not included in Plaintiffs’
Complaint), this Court does not possess jurisdiction to decide a novel issue of
state law. See Baggett v. First Nat’l Bank of Gainesville, 117 F.3d 1342 (11th
Cir. 1997) (“state courts, not federal courts, should be the final arbiter of
state law”) (citing Hardy v. Brimingham Bd. of Educ., 954 F.2d 1546, 1553
(11th Cir. 1992)).

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   2. Was the ECO (Doc. 953-2) provided to the EAC and, if so, when and by
      whom?

      Yes. Mr. Cobb’s declaration and the attached documentation

demonstrate that the ECO was sent to the EAC on Monday, October 5, 2020

by Dominion and then resubmitted on Tuesday, October 6, 2020. The Pro

V&V Analysis Form was submitted on Wednesday, October 7, 2020. Cobb

Dec. at ¶¶ 6-7, Exs. 2 and 3, thereto.


   3. Has the EAC responded, formally or informally, to either the Pro V&V
      Report or the ECO or any other related communication addressing the
      software that is now being installed on Georgia’s BMDs and, if so, what
      was the response and when was it received?

      No. According to Mr. Cobb’s declaration, no response has been received

yet. Cobb Dec. at ¶ 8.


   4. If the answer to (1) is no, why not and what was the basis for State
      Defendants’ representation to the Court on Friday and their
      “understanding” yesterday to the contrary?

      The answer to (1) is yes. But to be clear: the basis of State Defendants’

representation was Mr. Cobb’s statement that he had sent the letter report to

the EAC. Cobb Dec. at ¶ 5. Regardless, the State Defendants respectfully

submit no meaningful difference was intended in any language used in the

filing, rather since this process occurs at the direction of nonparty Dominion




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(not the State), counsel for the State Defendants were seeking to provide an

appropriate response.

      Respectfully submitted, this 9th day of October 2020.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing STATE DEFENDANTS’ RESPONSE TO THE COURT’S

ORDER, [DOC. 957] has been prepared in Century Schoolbook 13, a font

and type selection approved by the Court in L.R. 5.1(B).

                              /s/ Vincent Russo
                              Vincent Russo




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